
661 S.E.2d 736 (2008)
NORTH CAROLINA DEPARTMENT OF CORRECTION, Theodis Beck, Secretary of the North Carolina Department of Correction, in his official capacity, and Gerald J. Branker, Warden of Central Prison, in his official capacity
v.
NORTH CAROLINA MEDICAL BOARD.
No. 51PA08.
Supreme Court of North Carolina.
April 10, 2008.
Thomas J. Pitman, Special Deputy Attorney General, Joseph Finarelli, Assistant Attorney General, for Dept. of Correction, et al.
Thomas W. Mansfield, Brian L. Blankenship, D. Todd Brosius, for Medical Board.

ORDER
Upon consideration of the petition filed by Plaintiffs on the 6th day of February 2008 in this matter for discretionary review under G.S. 7A-31 prior to a determination by the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 10th day of April 2008."
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties, unless already submitted to the Court of Appeals, shall be submitted to this Court within the times allowed and in the manner provided by Appellate Rule 13.
